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                                  UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF CONNECTICUT
                                        BRIDGEPORT DIVISION


    In re:
                                                                     Chapter 11

                                                                     Case No. 22-50073
    Ho Wan Kwok,1
                                                                     February 24, 2022
                                     Debtor.



                                MOTION FOR ADMISSION PRO HAC VICE

             Pursuant to Rule 83.1(d) of the Local Rules of Civil Procedure for the United States

District Court for the District of Connecticut, the undersigned, a member of the Bar of this Court,

respectfully moves that the Court admit Stuart M. Sarnoff, a member of the Bar of the State of

New York, to represent Pacific Alliance Asia Opportunity Fund L.P., and in accordance with

Local Rule 83.1(d), I represent that:

             1.       The primary office of Attorney Sarnoff is: O’Melveny & Myers LLP, Times

Square Tower, 7 Times Square, New York, NY 10036. Attorney Sarnoff’s telephone number is

(202) 326-2293 and his email address is ssarnoff@omm.com.

             2.       Attorney Sarnoff is a member in good standing of all states and jurisdictions set

forth in his affidavit, attached as Exhibit A.

             3.       To the best of my knowledge and belief, Attorney Sarnoff is a member in good

standing of the courts listed in his affidavit and he has not been denied admission or disciplined




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             The last four digits of the Debtor’s taxpayer identification number are 9595.
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by this Court; no disciplinary proceedings are pending against him; and he has not been denied

admission or disciplined by any other court.

       4.      Service of all papers directed to Pacific Alliance Asia Opportunity Fund L.P. may

be made upon the undersigned, pursuant to Rule 83.1(c) of the Local Rules of Civil Procedure.


 Dated: Hartford, Connecticut                    Pacific Alliance Asia Opportunity Fund L.P.
        February 24, 2022

                                                 By: /s/ Patrick M. Birney
                                                    Patrick M. Birney (CT No. 19875)
                                                    Annecca H. Smith (CT No. 31148)
                                                    ROBINSON & COLE LLP
                                                    280 Trumbull Street
                                                    Hartford, CT 06103
                                                    Telephone: (860) 275-8275
                                                    Facsimile: (860) 275-8299
                                                    E-mail: pbirney@rc.com
                                                             asmith@rc.com
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                                       CERTIFICATION

       I hereby certify that the foregoing Motion for Admission of Visiting Attorney was filed

electronically on February 24, 2022, and therefore will be sent by email to those receiving email

notices from the Court’s electronic filing system.


                                                      _/s/ Patrick M. Birney________________
                                                             Patrick M. Birney
